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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Milavetz, Gallop & Milavetz, P.A.,                   Civ. No. 12-CV-00875 (SRN/JJG)
                    Plaintiff,

vs.                                                  WELLS FARGO’S MOTION FOR
                                                     PARTIAL DISMISSAL
Wells Fargo Bank, N.A.,

                   Defendant.

       PLEASE TAKE NOTICE that Defendant Wells Fargo Bank, N.A. (“Wells

Fargo”), hereby moves the Court for an order partially dismissing Plaintiff’s First

Amended Complaint.

       This motion is made pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure and Rule 7.1(b) of the Local Rules of the United States District Court for the

District of Minnesota, and is based upon Wells Fargo’s Memorandum of Law in Support

of Its Motion For Partial Dismissal, the Affidavit of Richard T. Thomson, the exhibits

thereto, and all the files, records, and proceedings herein.


Dated: May 15, 2012                    s/ Richard T. Thomson______________
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